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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA,

                        v.                           Crim. No. 19-64

 JOHN DOUGHERTY and
 ROBERT HENON




                     MEMORANDUM IN SUPPORT OF POST-TRIAL
                           MOTION OF DEFENDANT
                        ROBERT HENON FOR DISCOVERY

       I.      INTRODUCTION

       Proceedings in the criminal case captioned United States v. John Dougherty, et al., Case

No. 2:21-cr-00065 (“Case No. 21-65”), a case in which Mr. Henon is not a party, have disclosed

that the government conducted undercover and other investigative activities involving IBEW

Local 98 from at least July 2020 to some period thereafter. During that period, Mr. Henon was

under charges and in the process of preparing for trial. The Court either is currently undertaking

or will soon undertake an in camera review of investigative materials in Case No. 21-65 to

determine whether materials should be disclosed in connection with that case. The instant

motion asks that the Court review the same materials to determine if they should be disclosed to

Mr. Henon in connection with this case.

       In addition, this motion seeks to make clear and asks that an order direct that the

government labors under its own obligation to make disclosures.
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         II.    DISCUSSION

         The procedural posture of this case is that Mr. Henon was found guilty of certain charges

on November 15, 2021 and is scheduled to be sentenced on June 2, 2022. Motions filed in Case

No. 21-65 disclose that an informant recorded a conversation among John Dougherty and

business agents and other employees of IBEW Local 98 on August 24, 2020. Mr. Henon, along

with Mr. Dougherty, were indicted in the above-captioned case in 2019 and were scheduled to go

to trial in October 2020. That trial date was postponed because of the pandemic. In the interim,

while counsel and clients were preparing for trial, the informant began cooperating.

         There is presently pending a motion for a judgment of acquittal filed on behalf of Mr.

Henon.

         Undersigned counsel sent the government trial team a discovery demand letter on the

same day this motion was filed. A copy is attached as Exhibit A. We also understand from the

record in the related case that a taint team reviewed recordings, disclosed approximately 30 to

the trial team but withheld four recordings.

         There are two bases for disclosure. First, the applicable legal principles for the Due

Process Clause are well established. The rule of Brady v. Maryland applies not only to evidence

favorable to the defendant as to guilt but also to favorable evidence as to punishment. Indeed,

the evidence in Brady related to punishment. Brady v. Maryland, 373 U.S. 83, 87 (1963) (due

process requires prosecutors to “avoi[d]…an unfair trial” by making available “upon request”

evidence “favorable to an accused…where the evidence is material either to guilt or to

punishment”); United States v. Bagley, 473 U.S. 667, 674 (1985) (“The evidence suppressed in

Brady would have been admissible only on the issue of punishment and not on the issue of guilt,

and therefore could have affected only Brady’s sentence and not his conviction.”); United States



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v. Severson, 3 F.3d 1005, 1012 (7th Cir. 1993); United States v. Patel, 199 WL675293 (M.D. Ill.

1999). Second, while we do not know if any exist in the subject material, the Jencks Act

(codified at 18 U.S.C. § 3500) requires disclosure of statements of witnesses called by the

government.

       Accordingly, this motion asks the Court to examine the subject materials with an eye

toward the issues in this case and the sentence that Mr. Henon may receive. Those issues and

therefore relevant and favorable information may touch upon the following:

       a.   The extent of Mr. Henon’s duties as an employee of Local 98;

       b.   Whether his actions as a member of City Council were taken in good faith;

       c. The extent to which he might have resisted Mr. Dougherty’s entreaties or declined to
          follow through on them, and the extent to which Mr. Dougherty and others may have
          been disappointed in his ability to achieve their goals;

       d. The extent to which Mr. Henon’s actions were determined by L&I for example to
          lead to well-founded violation of applicable codes;

       e. Whether Mr. Henon was recorded during the undercover operation;

       f. Whether, without regard to the undercover recordings, favorable information was
          developed as a result in interviews of witnesses;

       g. Whether persons called as government witnesses were recorded.




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       III.   CONCLUSION

       For the reasons stated above, undersigned counsel respectfully request that the Court’s in

camera review include review to determine whether disclosures should be made to Mr. Henon.



                                                    Respectfully submitted,

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